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 1
     THOMAS A. JOHNSON, #119203
     KRISTY M. KELLOGG, #271250
 2   Law Office of Thomas A. Johnson
     400 Capitol Mall, Suite 1620
 3
     Sacramento, California 95814
 4   Telephone: (916) 442-4022
 5
                         IN THE UNITED STATES DISTRICT COURT
 6
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8
                                                )
 9   UNITED STATES OF AMERICA,                  ) Case No.: 2:13-cr-00084-GEB
                                                )
10
                  Plaintiff,                    ) DEFENDANT’S ORDER FOR
11                                              ) SUBSTITUTION OF COUNSEL
           vs.                                  )
12
                                                )
13   SURJIT SINGH,                              )
                Defendant.                      )
14                                              )
15
16         Pursuant to Local Rule 182(g), and Federal Rules of Civil Procedure, Rule 83,
17   Defendant, SURJIT SINGH, requests this Court to relieve COLIN L. COOPER and
18   substitute and appoint as the attorney of record THOMAS A. JOHNSON, Law Office of
19   Thomas A. Johnson, 400 Capitol Mall, Suite 1620, California, 95814, (916) 442 – 4022.
20
21         Mr. Singh consents to this substitution.
22
23                                                    /s/ Surjit Singh
     DATED: January 12, 2018                          SURJIT SINGH
24                                                    Defendant
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26
27
28


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           Case 2:13-cr-00084-TLN-CSK Document 177 Filed 01/16/18 Page 2 of 2



 1          Thomas A. Johnson consents to this substitution.
 2
 3
     DATED: January 12, 2018                                 /s/ Thomas A. Johnson
                                                             THOMAS A. JOHNSON
 4                                                           Attorney for Surjit Singh
 5
            Colin L. Cooper consents to this substitution and requests to be relieved as the
 6
     attorney of record.
 7
 8   DATED: January 12, 2018                          /s/ Colin L. Cooper
                                                      COLIN L. COOPER
 9
                                                      Former attorney of Surjit Singh
10
11   IT IS SO ORDERED.
12   Dated: January 12, 2018
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